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              EXHIBIT
                A
  Case 2:21-cv-00301-JNP-JCB Document 2-1 Filed 05/13/21 PageID.10 Page 2 of 35

IAZA   CT Corporation                                                                                     Service of Process
                                                                                                          Transmittal
                                                                                                          04/26/2021
                                                                                                          CT Log Number 539445450
       TO:         Peggy Steinman
                   X.L. America, Inc.
                   505 EAGLEVIEW BLVD STE 100
                   EXTON, PA 19341-1199

       RE:         Process Served in Utah

       FOR:        Catlin Specialty Insurance Company (Domestic State: DE)




       ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

       TITLE OF ACTION:                                 JOHN C. HEATH, etc. and CREDITREPAIR.COM, INC., Pltfs. vs. CATLIN SPECIALTY
                                                        INSURANCE COMPANY and INDIAN HARBOR INSURANCE COMPANY, Dfts.
       DOCUMENT(S) SERVED:                              Letter, Summons, Complaint
       COURT/AGENCY:                                    Third District Court, Salt Lake County, Salt Lake Department, UT
                                                        Case # 210900516
       NATURE OF ACTION:                                Insurance Litigation
       ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Midvale, UT
       DATE AND HOUR OF SERVICE:                        By Certified Mail on 04/26/2021 postmarked on 04/22/2021
       JURISDICTION SERVED :                            Utah
       APPEARANCE OR ANSWER DUE:                        Within 21 days after service of this Summons upon you
       ATTORNEY(S) / SENDER(S):                         Mark E. Miller
                                                        MILLER FRIEL, PLLC
                                                        2445 M Street, N.W., Suite 910
                                                        Washington, DC 20037
                                                        202-760-3160
       ACTION ITEMS:                                    CT has retained the current log, Retain Date: 04/26/2021, Expected Purge Date:
                                                        05/01/2021

                                                        Image SOP

                                                        Email Notification, Peggy Steinman peggy.steinman@axaxl.com

                                                        Email Notification, Kimberly Rigoroso kimberly.rigoroso@axaxl.com

       REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                        1108 E. South Union Avenue
                                                        Midvale, UT 84047
                                                        877-564-7529
                                                        MajorAccountTeam2@wolterskluwer.com
       The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
       relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
       of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




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IAZA   CT Corporation                                                                                      Service of Process
                                                                                                           Transmittal
                                                                                                           04/26/2021
                                                                                                           CT Log Number 539445450
       TO:         Peggy Steinman
                   X.L. America, Inc.
                   505 EAGLEVIEW BLVD STE 100
                   EXTON, PA 19341-1199

       RE:         Process Served in Utah

       FOR:        Catlin Specialty Insurance Company (Domestic State: DE)




       advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
       therein.




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                                                                     OF THE RETURN ADDRESS. FOLD AT DOTTED LINE
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State of Utah                                                                                                                                         U.S. POSTAGE >> PITNEY BMWS




                                                                                                                                   FIRST CLASS
DEPARTMENT OF INSURANCE                                                                                                                          ti
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State Office Building, Room 3110                                                                                                                      ZIP 84116 $ 008 45 0
PO Box 146901                                                                                                                                         02 1YV
Salt Lake City, Utah 84114-6901                                                                                                                       0001403432 APR 22 2021
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RETURN SERVICE REQUESTED




                                                                I'l l11111111" 111111111111111111111111111"111'111111"1111111111
                                                                Catlin Specialty Insurance Co
                                                                CT Corporation System
                                                                1108 E South Union Ave .
                                                                Midvale UT 84047
                   Case 2:21-cv-00301-JNP-JCB Document 2-1 Filed 05/13/21 PageID.13 Page 5 of 35
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                                 Insurance Department
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                  LA'                            JONATHAN T. PIKE
      ""•:: • •          •• 0
                                                 Insurance Commissioner

   State of Utah
   SPENCER J. COX
      Governor

DEIDRE M. HENDERSON
  Lieutenant Governor




                                                                                      April 20, 2021


                        Catlin Specialty Insurance Co.
                        CT Corporation System
                        1108 E South Union Ave
                        Midvale, UT 84047


                        Re: Heath, et al. v. Catlin Specialty Insurance Co., et al.

                        Dear Registered Agent for Service of Process:

                        The enclosed summons and complaint are being sent to you via certified mail pursuant to Utah
                        Code §§ 31A-2-309, -310.

                        Sincerely,,
                                                          r
                                         '

                        Reed Stringham
                        Deputy Utah Insurance Commissioner




                                4315 South 2700 West, Suite 2300, Taylorsville, Utah 84129 • Office (801) 957-9200 . Facsimile (385) 465-6047 • insurance.utah.gov
Case 2:21-cv-00301-JNP-JCB Document 2-1 Filed 05/13/21 PageID.14 Page 6 of 35




  George Hofmann (10005)
  Joshua K. Peterman (10248)
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  111 East Broadway, 11th floor
  Salt Lake City, UT 84111
  Telephone: (801) 363-4300
  Fax: (801) 363-4378
  ghofmann@cklaw
  iosh ck.law

  Mark E. Miller (pro hac vice forthcoming)      Date /
  Tab R. Turano (pro hac vice forthcoming)                           / Time
  MILLER FRIEL, PLLC                                                ?7-oc.)         nL
                                                 Upon
  2445 M Street, N.W., Suite 910
  Washington, D.C. 20037
                                                ElqZ3N,Private Investigator - Process
  Telephone: (202) 760-3160                          Constable Reitz, Salt           Server
  Fax: (202) 459-9537                           7026 Commerce Park Dr. Lake County
                                                                         #101, Midvale, UT
  millerm@millerfriel.com                               84047 (801) 255-5468
  turanot@millerfriel.com

  Attorneysfor Plaintiffs


                            THE THIRD JUDICIAL DISTRICT COURT

                   IN AND FOR SALT LAKE COUNTY, STATE OF UTAH


   JOHN C. HEATH, ATTORNEY AT LAW, PC
   d/b/a LEXINGTON LAW FIRM, and                              SUMMONS
   CREDITREPAIR.COM, INC.,

                            Plaintiffs,

   v.
                                                          CASE NO. 210900516
   CATLIN SPECIALTY INSURANCE
   COMPANY, and INDIAN HARBOR                         JUDGE Andrew H. Stone
   INSURANCE COMPANY,
                                                            Discovery Tier 3
                            Defendants.




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  THE STATE OF UTAH TO THE ABOVE-NAMED DEFENDANT, INDIAN HARBOR

  INSURANCE COMPANY:

          YOU ARE HEREBY SUMMONED and required to file an Answer in writing to the

  attached Complaint with.the clerk of the Third Judicial District Court of Salt Lake County, Scott

  M. Matheson Courthouse, 450 South State, Salt Lake City, Utah 84111 and to mail to or serve .

  upon: (i) George Hofmann, of and for Cohne Kinghorn, P.C., 111 East Broadway, Suite 1100,

  Salt Lake City, Utah 84111, and (ii) Mark E. Miller, Miller Freil, 2445 M Street, Suite 910,

  Washington, DC 20037, a copy of your Answer within twenty-one (21) days after service of this

  Summons upon you.

          If you fail to do so, judgment by default will be taken against you for the relief demanded

  in the Complaint which has been filed with the above-entitled Court and a copy of which is

  hereto annexed and herewith served upon you.

          DATED this 14th day of April, 2020.

                                                       COHNE KINGHORN, P.C.
                                                By:    /s/ George Hofmann
                                                       George Hofmann
                                                       Joshua K. Peterman
                                                       111 East Broadway, 11th floor
                                                       Salt Lake City, UT 84111
                                                       Telephone: (801) 363-4300
                                                       Fax: (801) 363-4378

                                                       MILLER FRIEL, PLLC

                                                By:    /s/ Mark E. Miller
                                                       Mark E. Miller (pro hac vice admission)
                                                       Tab R. Turano (pro hac vice admission)
                                                       2445 M Street, Suite 910
                                                       Washington, DC 20037
                                                       Tel: (202) 760-3160
                                                       Fax: (202) 459-9537


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Case 2:21-cv-00301-JNP-JCB Document 2-1 Filed 05/13/21 PageID.16 Page 8 of 35




  SERVE DEFENDANT:

  INDIAN HARBOR INSURANCE COMPANY
  Utah Insurance Department
  Jonathan T. Pike, Acting Commissioner
  4315 South 2700 West
  Suite 2300
  Taylorsville, UT 84129




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  Instructions for Service of First and Second Policies:

      The following service of suit provision is added and replaces 'any other Service of Suit provision contained
      elsewhere in this policy:

              The Superintendent, Commissioner or Director of Insurance of the State is hereby designated the
              true and lawful attorney of the Company upon whoM may be served all lawful process in any
              action, suit or proceeding arising out of this:policy.. The Company further designates:


                                          National Registered Agents, Inc.
                                                   395 W. 2900 N.
                                            Pleasant Grove, UT 84062


              as its agent to whom such process shall be forwarded by the Director of Insurance.

      For Illinois exposures, the Insurer further designates the Director of the Illinois Division of Insurance and
      his successors in office, as its true and lawful attorney upon whom may be served any lawful process'in
      any action, suit or proceeding instituted by or on behalf of the insured or any beneficiary hereunder
      arising out of an Illinois exposure and this contract of insurance.


  Instructions for Service of Third Policy:

                                                    SERVICE OF PROCESS


       The Commissioner of Insurance and Lieutenant Governor of the State of Utah are hereby designated the true,and,
       lawful agents of the Company upon whom may be served all lawful process in any action, suit or proceeding arising
       out of this policy. The Company further designates:


                                               Sarah Mims
                                               Assistant Secretary
                                               505 Eagleview Boulevard, Suite 100
                                               Exton, Pennsylvania 19341-0636


       as its agent in Utah to whom such process shall be forwarded by the Commissioner of Insurance or, Lieutenant
       Governor.




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Case 2:21-cv-00301-JNP-JCB Document 2-1 Filed 05/13/21 PageID.18 Page 10 of 35




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  Telephone: (202) 760-3160
  Fax: (202) 459-9537
  millerm@millerfriel.com
  turanot@millerfriel.com

  Attorneysfor Plaintiffs


                            THE THIRD JUDICIAL DISTRICT COURT

                      IN AND FOR SALT LAKE COUNTY, STATE OF UTAH


   JOHN C. HEATH, ATTORNEY AT LAW, PC           COMPLAINT FOR DECLARATORY
   d/b/a LEXINGTON LAW FIRM, and                RELIEF, BREACH OF CONTRACT,
   CREDITREPAIR.COM, INC.,                              AND BAD FAITH

                            Plaintiffs,               CASE NO. 210900516

   v.                                               JUDGE: Andrew H. Stone

   CATLIN SPECIALTY INSURANCE                           Discovery Tier 3
   COMPANY, and INDIAN HARBOR
   INSURANCE COMPANY,

                            Defendants.




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Case 2:21-cv-00301-JNP-JCB Document 2-1 Filed 05/13/21 PageID.19 Page 11 of 35




            Plaintiffs John C. Health, Attorney at Law, PC d/b/a Lexington Law Firm ("Lexington

  Law") and CreditRepair.Com, Inc. ("CreditRepair.com") (together, "Insureds"), by and through

  their undersigned counsel, for this Complaint against Catlin Specialty Insurance Company

  ("Catlin") and Indian Harbor Insurance Company ("Indian Harbor") (together, "AXA XL"), allege

  as follows:

                                       PRELIMINARY STATEMENT

           1.         In this action, Insureds seek to recover attorneys' fees and costs incurred in defense

  of a governmental claim and two civil lawsuits under a series of professional liability policies sold

  to them by AXA XL.

           2.         There is no dispute between the parties that the lawsuits — each of which remains

  pending as of the date of this Complaint -- potentially trigger coverage under the AXA XL policies

  and that as a result, AXA XL has a contractual duty to defend the Insureds in connection with the

  actions.

           3.         But AXA XL has not defended Lexington Law or CreditRepair.com. Instead, AXA

  XL did nothing. It failed to timely respond to the Insureds' requests to retain counsel to defend

  against the actions and ignored the Insureds' offers to provide updates regarding the pending

  matters or to put AXA XL in touch with retained defense counsel to discuss the defense.

           4.         Now AXA XL contends that all of the defense costs incurred to date by Lexington

  Law and CreditRepair.com are at the Insureds' "personal cost," and has refused to reimburse the

  Insureds for so much as a dollar of their defense expenses.

           5.         As a result, Lexington Law and CreditRepair.com have been forced to pay for their

  defense of the matters out-of-pocket and without the aid and assistance of their insurance carriers.

  Lexington Law and CreditRepair.com therefore bring this action for declaratory judgment, breach


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  of contract, and breach of the duty of good faith and fair dealing, to force AXA XL to abide by its

  acknowledged duty to defend their policyholders against the pending underlying actions.

                                                 PARTIES

           6.      Plaintiff Lexington Law is law firm and a Utah professional corporation with its

  principal place of business in Salt Lake City, Utah. Lexington Law provides legal services,

  including credit repair services, for its clients.

           7.      CreditRepair.com is a Florida corporation with its principal place of busines in Salt

  Lake City, Utah. CreditRepair.com provides direct-to-consumer credit repair services.

           8.      Upon information and belief, defendant Catlin Specialty Insurance Company is

  incorporated under the laws of Delaware with its principal place of business in Georgia.

           9.      Upon information and belief, defendant Indian Harbor Insurance Company is

  incorporated under the laws of South Dakota, with its principal place of business in Connecticut.

                                    JURISDICTION AND VENUE

           10.     This Court has jurisdiction over this dispute pursuant to Utah Code Ann. §§ 78A-

  5-102, 78B-3-205, and 78B-6-401.

           11.     This Court has personal jurisdiction over the parties in dispute.

           12.     Venue in this Court is proper pursuant to Utah Code Ann. §§ 78B-3-304 and 78B-

  3-307 because among other things, AXA XL conducted activity in Salt Lake County that gave rise

  to the claims, AXA XL failed to perform its obligations under the insurance policies at issue in

  whole or in part Salt Lake County, and the causes of action at issue in this dispute arose in whole

  or in part in Salt Lake County.




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                                                   FACTS

  I.       The Consumer Financial Protection Bureau Claim

           13.       On October 3, 2014, the Consumer Financial Protection Bureau ("CFPB" or the

  "Bureau") served Lexington Law with a Civil Investigative Demand ("CID").

           14.       On September 13, 2017, following Lexington Law's responses to the CID, the

  CFPB issued a Notice and Opportunity to Respond ("NORA") to Lexington Law. The NORA

  indicated that the CFPB's Office of Enforcement was recommending that the Bureau take legal

  action against Lexington Law, and offered Lexington Law the opportunity to make a NORA

  submission setting forth the reasons why legal action should not be brought against the law firm.

           15.       The following day, September 14, 2017, the CFPB issued a similar NORA to

  Progrexion Holdings, Inc. and its subsidiaries ("Progrexion"), including CreditRepair.com.

           16.       Both Lexington Law and CreditRepair.com responded to the CFPB's allegations.

           17.       On May 2, 2019, the Bureau filed a complaint against Lexington Law and several

  Progrexion entities, including CreditRepair.com, styled Bureau of Consumer Financial

  Protection v. Progrexion Marketing, Inc., et al., Case No. 2:19-cv-00298-DBP (D. Utah) (the

  "CFPB Lawsuit").

           18.       Count I of the CFPB Lawsuit asserts a claim against each of the defendants,

  including Lexington Law and CreditRepair.com, for violation of the Telemarketing Sales Rule

  ("TSR").

           19.       Counts II through V of the complaint assert causes of action against the

  "Progrexion Defendants," including CreditRepair.com, relating to allegedly deceptive marketing

  practices in rendering credit repair services in violation of the Consumer Financial Protectioh

  Act and the TSR.


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            20.       The CFPB Lawsuit seeks, among other relief, payment of monetary damages, an

  award of civil monetary penalties, and fees and costs incurred by the Bureau in bringing the suit.

            21.       As of the date of this Complaint, the CFPB Lawsuit remains in pre-trial

  discovery, and a pre-trial conference has been scheduled for November 5, 2021.

            22.       The CID, NORA, and CFPB Lawsuit are collectively referred to as the "CFPB

  Claim."

  II.       The Creditor Claims

           23.        Lexington Law was named a defendant in two lawsuits brought by debt collection

  agencies, styled CBE Group, Inc., et al. v. Lexington Law Firm, No. DC-17-00708 (Dist. Ct.,

  44th Jud. Dist., Dallas County, Tx.) ("CBE Group") and Ad Astra Recovery Services, Inc. v. John

  Clifford Heath, Esq., et al., No. 6:18-cv-01145-JWB-KGS (D. Kan.) ("Ad Astra"). CBE Group

  and Ad Astra may be referred to collectively as the "Creditor Claims."

           24.        CBE Group was filed against Lexington Law on July 14, 2017.

           25.        CBE Group — a debt collection agency — asserts that Lexington Law has drafted

  and mailed "hundreds of thousands of pieces of frivolous dispute correspondence, purportedly

  from consumers, on behalf of consumers and without the consumers' specific knowledge or

  consent." As a result, the complaint alleges that CBE Group has incurred significant costs and

  expenses to investigate and respond to the "frivolous dispute correspondences."

           26.        CBE Group went to trial in June and July 2019. The Court granted Lexington

  Law's motion for judgment as a matter of law pursuant to Rule 50(b), and judgment was entered

  by the court in Lexington Law's favor. All claims against Lexington Law were dismissed. As

  of the date of this Complaint, CBE Group is pending on appeal before the Fifth Circuit Court of

  Appeals.


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           27.        Ad Astra was filed on May 21, 2018, against Lexington Law, certain Progrexion

  entities, and various associated individuals.

           28.        Ad Astra asserts that defendants "solicit financially troubled consumers" by

  offering legal services from Lexington Law, a law firm.

           29.        Ad Astra, a debt collection agency, contends that Lexington Law then engages in

  a credit repair scheme that involves sending "false credit dispute letters" intended to impede Ad

  Astra's efforts to collect legitimate debts, and that as a result, Ad Astra has suffered damages.

           30.        Ad Astra seeks, among other relief, compensatory and punitive damages,

  attorneys' fees and costs, and pre- and post-judgment interest.

           31.        As of the date of this Complaint, discovery has been completed in Ad Astra, and

  defendants, including Lexington Law, have moved for summary judgment seeking dismissal of

  Ad Astra's claims. A trial date has been tentatively set for May 2021.

  III.     The Insurance Policies

           32.        AXA XL sold to Lexington Law and CreditRepair.com a series of professional

  liability insurance policies.

           A.         The 2014 Lexington Law Policy

           33.        Catlin sold Lexington Law Lawyers Professional Liability Insurance Policy No.

  LPP-196619-0714, for the period of July 14, 2014 to July 14, 2015 (the "2014 Lexington Law

  Policy").

           34.        The 2014 Lexington Law Policy provides a $5 limit of liability for each Claim,'

  subject to a $5 million aggregate limit of liability.



  1 Bold terms are defined by the Policies.


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            35.       Catlin "has the right and duty to defend any Claim to which [the Policy] applies,

  even of the allegations of the Claim are groundless, false or fraudulent."

            36.       The policy provides:

           If during the Policy Period, the Insureds become aware of a specific act or
           omission, which reasonably may be expected to give rise to a Claim against an
           Insured, and give written notice to the Insurer of the specific act or omission, the
           reasons for anticipating such a Claim, the identities of the potential claimants and
           the Insureds allegedly responsible for such specific act or omission, the amount
           of actual or potential damages, and the circumstances by which the Insureds first
           became aware of such specific act or omission, then any Claim subsequently
           made or proceeding subsequently brought against the Insureds arising out of such
           specific act or omission, shall be deemed to have been made at the time such
           notice was received by the Insurer.

           37.        Further:

           [A]ll Claims based upon or arising out of the same act or omission or out of
           Interrelated Acts or Omissions shall be considered a single Claim, and each
           such single Claim shall be deemed to have been made on the earlier,of the
           following:                                                   't •
           A.         when the earliest Claim arising out of such act or omission or
                      Interrelated Act or Omission first was made; or,

           B.         when notice pursuant to Section VII.B, herein, of a fact, circumstance, or
                      situation giving rise to such Claim was given.

           38.        Interrelated Acts or Omissions means any acts or omissions that are "similar,

  repeated or continuous" or "connected by reason of any common facts, circumstances, situation,

  transaction, casualty, event, decision or policy or one or more series of facts, circumstances,

  situations, transactions, casualties, events, decisions or policies."

           39.        The 2014 Lexington Policy contains a Sublimit for Damages Arising From

  Statutory Violations Endorsement (the "Fines and Penalties Endorsement").

           40.        The Fines and Penalties Endorsement expands the policy's definition of Damages

  to include Fines/Penalties Damages, which is defined in turn as "fines and/or penalties arising


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  directly out of actual or alleged violations of certain identified statutes and regulations, including

  (a) the Credit Repair Organizations Act, (b) the Fair Debt Collections Practices Act, (c) the Fair

  Credit Reporting Act, (d) the Telephone Consumer Protection Act of 1991, and (e) the

  Telemarketing Sales Rule.

            41.       The Fines and Penalties Endorsement provides that "the Insurer's maximum

  limit of liability for all Fines/Penalties Damages arising from a Claim . . . is $2,000,000.

            42.       The $2,000,000 Fines and Penalties Endorsement limit does not apply to defense

  costs; nor does it apply to Damages not described by the definition of Fines/Penalties Damages.

           B.         The 2017 Lexington Law Policy

           43.        Indian Harbor sold Lexington Law Professional Liability Insurance Policy No.

  LPN9035365, for the period of July 14, 2017 to July 14, 2018 (the "2017 Lexington Law

  Policy").

           44.        The 2017 Lexington Law Policy provides a $5 limit of liability for each Claim,

  subject to a $5 million aggregate limit of liability.

           45.        Claim is defined to include "a formal civil administrative or regulatory

  proceeding . . . commenced by the filing or entry of a formal order of investigation or similar

  document."

           46.        Damages means "a monetary judgment, award or settlement, including any

  punitive or exemplary damages if insurable under the applicable law most favorable to the

  insurability" of such damages.

           47.        The Fines and Penalties Endorsement to the 2017 Lexington Policy increases the

  policy's each claim and aggregate Limits of Liability for Fines/Penalties Damages to

  $3,000,000.


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            C.        The 2017 CreditRepair.corn Policy

            48.       Indian Harbor sold CreditRepair.com Professional Liability Policy No.

  LPN9035364, for the period of July 14, 2017 to July 14, 2018 (the "2017 CreditRepair.com

  Policy").

            49.       The 2017 CreditRepair.com Policy provides a $5 limit of liability for each Claim,

  subject to a $5 million aggregate limit of liability.

            50.       Professional Services is defined to include all "credit repair services."

            51.       The 2014 Lexington Law Policy, the 2017 Lexington Law Policy and the 2017

  CreditRepair.com Policy are referred to collectively as the "AXA XL Policies."

  IV.      The Insurance Claim

           52.        Lexington Law and CreditRepair.com each provided timely notice to AXA XL of

  the claims at issue.

           53.        AXA XL has acknowledged that the CFBP Lawsuit potentially alleges a covered

  claim under both the 2014 Lexington Law Policy and the 2017 CreditRepair.com Policy.

           54.        AXA XL has acknowledged that the Creditor Claims allege a potentially covered

  claim against Lexington Law under the 2017 Lexington law Policy.

           55.        AXA XL has acknowledged that Catlin and Indian Harbor have a contractual duty

  to defend Lexington Law and CreditRepair.com in connection with the CFPB Lawsuit.

           56.        AXA XL has acknowledged that Indian Harbor has a contractual duty to defend

  Lexington Law against the Creditor Claims.

           57.        Nevertheless, AXA XL has, to date, failed to pay any of the Insureds' defense

  costs or to otherwise actually defend the Insureds in connection with the pending matters.


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           A.         The CFPB Claim

           58.        Lexington Law provided notice of the October 3, 2014 CID to Catlin on

  December 17, 2014.

           59.        On January 28, 2015, Catlin responded to Lexington Law's notice, indicating that

  the 2014 Lexington Law Policy defined "Claim" to include "a written demand for monetary or

  non-monetary relief' or a "formal civil administrative or regulatory proceeding . . . commenced

  by the filing of a formal order of investigation or similar document," but advised: "[t]o date, no

  action has been taken against the Insured which would constitute a claim under Catlin's Policy.

  Therefore, Catlin will treat this matter as a potential claim." (emphasis in original).

           60.        On or about October 24, 2017, Lexington Law provided notice to AXA XL of the

  September 13, 2017 NORA issued by the CFPB. On that same date, CreditRepair.com provided

  notice to Indian Harbor under the 2017 CreditRepair.com Policy of the NORA issued to

  Progrexion Holdings, Inc. and its subsidiaries, including CreditRepair.com.

           61.        AXA XL responded to the Insureds' notice of the NORA's by letters dated

  February 7, 2018, concluding that the NORA's were not Claims. Rather, AXA XL indicated it

  would treat the Lexington NORA as a Potential Claim under the 2017 Lexington Policy, and the

  NORA issued to CreditRepair.com as a Potential Claim under the 2017 CreditRepair.com Policy.

           62.        On May 24, 2019, Lexington Law and CreditRepair.com provided notice to AXA

  XL of the CFPB Lawsuit. The Insureds noted that they were represented by Goodwin Proctor,

  LLP in connection with the lawsuit, and requested AXA XL's "agreement to such representation

  and its immediate consent for [Lexington and CreditRepair.com] to incur attorneys' fees and

  costs in defense of the action."


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           63.       AXA XL first responded to the Insureds' tender of the CFBP Lawsuit by letters

  dated July 16, 2019. Notwithstanding that an insurer's duty to defend is determined solely by the

  "four corners" of the underlying complaint, AXA XL asserted that it could not render a coverage

  determination in the absence of additional information relating to, among other things, the

  Insureds' responses to the CFPB's prior CID's, an explanation of pre-suit settlement discussions

  between the Insureds and the Bureau, and the insureds' analysis of the CFPB's allegations in the

  lawsuit. Moreover, AXA XL requested additional information relating to the Insureds' retention

  of Goodwin Proctor, including counsels' hourly rates and the size of the, legal team.

           64.       In response, Lexington Law and CreditRepair.com provided AXA XL with the

  names, rank and billing rates of the Goodwin Proctor lawyers retained to defend the CFPB

  action. AXA XL took no further action for eight months.

           65.       Then, on May 15, 2020, AXA XL wrote to the Insureds and simply reiterated its

  prior request "for information concerning Goodwin Proctor's defense (e.g., hourly rates, size of

  legal team, budget, etc.)." AXA XL made this request even though information relating to

  Goodwin Proctor had been previously provided long before.

           66.       On May 20, 2020, the Insureds, for the second time, provided AXA XL with

  details regarding the Goodwin Proctor legal team, including the members of the legal team and

  updated hourly rates. But rather than providing its consent to the Insureds' retention of Goodwin

  Proctor, AXA XL responded on May 27, 2020 — more than a year after the CFPB Lawsuit was

  filed —with a series of additional questions pertaining to why the Insureds' retained Goodwin

  Proctor (rather than a less expensive firm), including (a) why the Insureds did not use Troutman

  Sanders (who had previously defended Lexington in a series of unrelated TCPA class actions),

  "particularly when Goodwin Proctor's rates are more than double Troutman Sander's rates...,"


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  (b) what specialized experience does Goodwin Proctor have in CFPB litigation that a less

  expensive firm does not, (c) whether the Insureds considered other firms and what their rate

  proposals were; (d) what discussions the Insureds had with Goodwin Proctor regarding its fee

  proposal and whether the Insureds sought to negotiate a discount, and (e) why Goodwin

  Proctor's rates had increased between 2019 (when the Insureds first provided AXA XL with the

  rate information) and 2020 (when the Insureds provided updated rate information).

            67.       To the extent any of the information requested by AXA XL on May 27, 2020 was

  relevant to the Insureds' request for consent to retain Goodwin Proctor, no explanation was

  provided for why AXA XL waited a year to request the information. Nevertheless, Lexington

  Law and CreditRepair.com responded to these additional requests, advising that (a) Goodwin

  Proctor was selected because of the firm's experience in defending claims brought against

  businesses by the CFPB, (b) Goodwin Proctor had the most relevant litigation experience

  relating to the specific types of claims alleged by the CFBP Lawsuit, (c) the Insureds also

  considered Venable and Williams & Connolly for the CFPB Lawsuit, but their rates were similar

  if not higher than Goodwin Proctors, (d) and that the Insureds negotiated a 10% discount off

  Goodwin Proctor's rack rate and continues to request write-downs where warranted.2

           68.        On September 11, 2020, AXA XL finally acknowledged its contractual duty to

  defend the Insureds in connection with the CFPB Lawsuit. AXA XL recognized its duty to

  defend Lexington Law under the 2014 Lexington Policy and CreditRepair.com under the 2017

  CreditRepair.com Policy. Nevertheless, AXA XL still did not provide its consent to the



  2 Moreover, notwithstanding that AXA XL was obligated to defend Insureds against the CFPB Lawsuit based on the
  allegations contained within the four-corners of the underlying CFPB Lawsuit, and that AXA XL was in breach of
  its duty to defend, the Insureds, through the July 17 letter, provided AXA XL with voluminous materials produced
  in connection with the prior CID's and NORA's.


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  Insureds' retention of Goodwin Proctor. Rather, AXA XL asserted, for the first time

  (approximately 15 months after the CFPB Lawsuit was served and over six years after initial

  notice of the CFPB Claim), that both Lexington Law and CreditRepair.com were obligated to

  retain a different law firm (i.e., not Goodwin Proctor) due to a supposed conflict of interest.

            69.       Goodwin Proctor subsequently advised AXA XL that there was no conflict of

  interest between the parties.

            70.       Ultimately, despite acknowledging that it owes Lexington Law and

  CreditRepair.com a duty to defend against the CFPB Lawsuit, and having received invoices

  supporting the Insureds' defense costs incurred in connection with the claim, AXA XL has

  neither defended the Insureds in connection with the matter nor otherwise paid the Insureds'

  costs of defense.

            71.       As a result, the Insureds have been forced to bring this action for declaratory

  judgment, breach of contract and bad faith against AXA XL to enforce their rights to coverage for

  the CFPB Claim under the policies.

           B.         The CBE Group and Ad Astra Lawsuits

            72.       Lexington Law provided notice to AXA XL of Ad Astra and CBE Group on June

  18, 2018.

           73.        On August 29, 2018, Indian Harbor agreed to provide Lexington Law a defense to

  Ad Astra under a reservation of rights. A similar reservation of rights letter was issued the

  following day with respect to CBE Group.

           74.        On October 10, 2018, Lexington Law provided AXA XL with an update on the

  status of Ad Astra, including a copy of a recently issued scheduling order and an early settlement

  demand from plaintiff's counsel. Lexington Law advised that it was being represented in


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  connection with the action by the law firm of Quintairos, Prieto, Wood & Boyer, PA,

  ("Quintairos, Prieto") and requested AXA XL's "prompt consent to such representation."

  Lexington Law concluded, "Please let us know immediately if you would like to discuss

  Lexington's response with underlying counsel" and if "additional information is required at this

  time."

           75.        AXA XL did not respond to this October 10, 2018 letter.

           76.        On May 31, 2019, Lexington Law provided AXA XL with an update on CBE

  Group. Lexington noted that a pre-trial conference had been held and that a trial date had been

  set for June 24, 2019. Lexington Law advised that it continued to be represented by Quintairos,

  Prieto, and offered to provide AXA XL with further information regarding the status of the

  matter, "including putting [AXA XL] directly in touch with defense counsel." Lexington Law

  inquired, "Please let us know your availability for a call to further discuss this claim."

           77.        AXA XL did not respond to the May 31, 2019 letter.

           78.        Indeed, AXA XL went silent on the Creditor Claims until June 2020 when AXA

  XL simply wrote, "Please provide updates for the below mentioned matters. Thank you."

           79.        Lexington Law provided AXA XL with a status update on both lawsuits.

  Lexington Law also notified AXA XL that it had recently retained the law firm of Williams &

  Connolly in defense of the actions, replacing Quintairos, Prieto, and provided AXA XL with the

  names and hourly billing rates of the respective lawyers. Lexington Law requested AXA XL's

  consent to counsel.

           80.        On December 1, 2020, having still received no response from AXA XL,

  Lexington Law provided AXA XL with copies of defense invoices incurred in connection with

  defense of Ad Astra and CBE Group and demanded reimbursement of its attorneys' fees and


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  costs incurred to date. Lexington Law once again reiterated its offer to arrange a call between

  AXA XL and its defense counsel to discuss Lexington Law's defense of the matters.

           81.        Apparently, Lexington Law's submission of invoices and demand for

  reimbursement finally caught AXA XL's attention. AXA XL responded on January 7, 2021,

  affirming its determination that Ad Astra and CBE Group triggered its duty to defend. However,

  AXA XL disclaimed any obligation to actually reimburse Lexington Law's defense costs,

  declaring: "AXA XL has not provided written consent, and any defense costs incurred to date are

  at Lexington's `personal cost.'" AXA XL further asserted that Lexington Law would have to

  retain different defense counsel (i.e., not Williams & Connolly) to defend against the actions

  because of conflicts of interest.

           82.        Although Indian Harbor concedes that Ad Astra and CBE Group are potentially

  covered claims under the 2017 Lexington Law Policy that trigger its duty to defend, and despite

  Lexington Law's requests that Indian Harbor consent to its retention of counsel, Indian Harbor

  has refused to defend Lexington Law in connection with the matters or to otherwise pay or

  reimburse any of Lexington Law's attorneys' fees or costs incurred in connection with the

  lawsuits.

           83.        As a result, Lexington has been forced to bring this action for declaratory judgment,

  breach of contract and bad faith against AXA XL to enforce its rights to coverage for Ad Astra and

  CBE Group under the 2017 Lexington Law Policy.

                                        FIRST CAUSE OF ACTION

      (Declaratory Relief Against Catlin and Indian Harbor — Duty to Defend and Pay All
                    Defense Expenses in Connection with the CFPB Claim)




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           84.        The Insureds repeat and reallege the allegations set forth in the preceding

  paragraphs of this Complaint as if set forth fully herein.

           85.        The 2014 Lexington Law Policy provides that Catlin has the right and duty to

  defend Lexington Law against any Claim to which the 2014 Lexington Policy applies.

           86.        Likewise, the 2017 CreditRepair.com Policy provides that Indian Harbor has the

  right and duty to defend CreditRepair.com against any Claim to which the 2017

  CreditRepair.com Policy applies.

           87.        The October 2014 CID and the September 2017 NORA served on Lexington

  Law, including the CFPB's ensuing investigation of Lexington Law, constitutes a Claim under

  the 2014 Lexington Policy.

           88.        Likewise, the September 2017 NORA served on Progrexion Holdings, Inc. and its

  subsidiaries, including CreditRepair.com, and the CFPB's ensuing investigation of

  CreditRepair.com, constitutes a Claim under the 2017 CreditRepair.com Policy.

           89.        Catlin was obligated to defend Lexington Law or to otherwise pay for Lexington

  Law's attorneys' fees and costs incurred in connection with the CFPB Claim.

           90.        Indian Harbor was obligated to defend CreditRepair.com or to otherwise pay for

  CreditRepair.com's attorneys' fees and costs incurred in connection with the CFPB Claim.

           91.        CFPB Lawsuit is deemed a Claim made during the period of the 2014 Lexington

  Policy and during the 2017 CredirRepair.com Policy.

           92.        Catlin has a duty to defend Lexington against the CFPB Lawsuit under the 2014

  Lexington Law Policy, and Indian Harbor has a duty to defend CreditRepair.com under the 2017

  CreditRepair.com Policy.




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           93.        Both policies required that AXA XL defend the Insureds against the CFPB Claim

  by retaining counsel to represent the Insureds (with the Insureds' consent) or by

  paying/reimbursing Claim Expenses incurred by the Insureds' chosen defense counsel, subject to

  the policies' limits of liability and applicable self-insured retention. But neither Catlin nor

  Indian Harbor did either and, therefore, breached their contractual duty to defend Lexington Law

  and CreditRepair.com.

           94.        Catlin's and Indian Harbor's defense obligations are each subject to the Policies'

  $5,000,000 limits of liability.

           95.        Any condition of the Policies requiring that the Insureds secure AXA XL's

  consent to retain defense counsel or to incur Claims Expenses in connection with the CFPB

  Claim was waived by AXA XL or otherwise is unenforceable as a result of AXA XL's conduct

  in this matter, including the insurers' breach of their duty to defend.

           96.        AXA XL has waived or is otherwise estopped from enforcing any condition of the

  Policies requiring that the Insureds secure AXA XL's consent to retain defense counsel or to

  incur Claims Expenses in connection with the CFPB Claim because of insurers' inaction and/or

  failure to timely respond to the Insureds' requests.

           97.        AXA XL's silence and/or inaction constitutes consent to the Insureds' retention of

  defense counsel and/or the Claims Expenses incurred by the insureds in connection with the

  CFPB Claim.

           98.        Any conditions to coverage under the policies was satisfied by the Insureds' or

  may not be enforced by AXA XL because of the insurers' actions in connection with the claims.

           99.        Under Utah Code Ann. § 78B-6-401, et seq., there is an actual and justiciable

  controversy between the Insureds and AXA XL with respect to AXA XL's duty to defend


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  Lexington Law and CreditRepair.com against the CFPB Claim under the 2014 Lexington Law

  Policy and the 2017 CreditRepair.com Policy.

            100.      A declaratory judgment establishing the parties' rights with respect to that duty to

  defend would terminate the controversy and dispute among the parties as to AXA XL's duty to

  defend.

            101.      Pursuant to § 78B-6-401, et seq., and the terms of the 2014 Lexington Law Policy

  and the 2017 CreditRepair.com Policy, the Insureds are entitled to a declaration of their rights

  and AXA XL's duties under the policies, including a declaration not limited to the following

  issues:

            (a)       that the October 2014 CID and the September 2017 NORA served on Lexington

  Law, including the CFPB's ensuing investigation of Lexington Law, constitutes a Claim under

  the 2014 Lexington Policy;

            (b)       that the September 2017 NORA served on Progrexion Holdings, Inc. and its

  subsidiaries, including CreditRepair.com, and the CFPB's ensuing investigation of

  CreditRepair.com, constitutes a Claim under the 2017 CreditRepair.corn Policy;

            (c)       that AXA XL was obligated to defend, or pay the defense costs of, Lexington

  Law and CreditRepair.com or to otherwise pay for the Insureds' attorneys' fees and costs

  incurred in connection with the CFPB Claim and breached that duty;

            (d)       that AXA XL is obligated to reimburse the Insureds' reasonable attorneys' fees

  and costs incurred in defense of the CFPB Lawsuit and to defend, or pay the defense costs of,

  Lexington Law and CreditRepair.com in connection with the matter going forward, subject only

  to the policies' applicable limits of liability.




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                                       SECOND CAUSE OF ACTION

     (Declaratory Relief Against Indian Harbor -- Duty to Defend and Pay Lexington Law's
                   Defense Expenses in Connection with the Creditor Claims)

           102.       The Insureds repeat and reallege the allegations set forth in the preceding

  paragraphs of this Complaint as if set forth fully herein.

           103.       The 2017 Lexington Law Policy provides that Indian Harbor has the right and

  duty to defend Lexington Law against any Claim to which the 2017 Lexington Policy applies.

           104.       Both Ad Astra and CBE Group triggered Indian Harbor's duty to defend

  Lexington Law in connection with the lawsuits under the 2017 Lexington Law Policy.

           105.       The 2017 Lexington Law Policy requires that Indian Harbor defend Lexington

  Law against Ad Astra and CBE Group by retaining counsel to represent Lexington Law (with

  Lexington Law's consent) or by paying/reimbursing Claim Expenses incurred by Lexington

  Law's chosen defense counsel, subject to the policy's limit of liability and applicable self-

  insured retention. But Indian Harbor did neither and, therefore, breached its contractual duty to

  defend Lexington Law.

           106.       Any condition of the policy requiring that Lexington Law secure Indian Harbor's

  consent to retain defense counsel or to incur Claims Expenses in connection with Ad Astra or

  CBE Group was waived by Indian Harbor or otherwise is unenforceable as a result of Indian

  Harbor's conduct in this matter, including its breach of its duty to defend.

           107.       Ad Astra and the CBE Group arise out of the same act or omission or out of

  Interrelated Acts or Omissions and constitute a single Claim under the policy.

           108.       Neither Ad Astra nor CBE Group constitutes a Claim seeking Fines/Penalties

  Damages and, accordingly, Indian Harbor's duty to defend Lexington Law in connection with



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  the Claim is subject to a single $100,000 self-insured retention and the policy's $5,000,000 limit

  of liability.

           109.       Under Utah Code Ann. § 78B-6-401, et seq., there is an actual and justiciable

  controversy between Lexington Law and Indian Harbor with respect to Indian Harbor's duty to

  defend Lexington Law against the Creditor Claims under the 2017 Lexington Law Policy.

           110.       A declaratory judgment establishing the parties' rights with respect to that duty to

  defend would terminate the controversy and dispute among the parties as to Indian Harbor's duty

  to defend.

           111.       Pursuant to § 78B-6-401, et seq., and the terms of the 2017 Lexington Law

  Policy, Lexington Law is entitled to a declaration of its rights and Indian Harbor's duties under

  the policy, including a declaration not limited to the following issues:

           (a)        that Indian Harbor has an obligation to defend, or pay the defense costs of,

  Lexington Law in connection with Ad Astra and the CBE Group and has breached that duty;

           (b)        that Ad Astra and the CBE Group constitute or are otherwise deemed a single

  Claim under the policy;

           (c)        that Indian Harbor's duty to defend Lexington Law in connection with Ad Astra

  Action and the CBE Group is subject to a single $100,000 retention;

           (d)        that the policy's $5,000,000 limit of liability is applicable to Indian Harbor's duty

  to defend Lexington Law in connection with Ad Astra and CBE Group;

           (e)        that Indian Harbor is obligated to reimburse Lexington Law's reasonable

  attorneys' fees and costs incurred in defense of Ad Astra and CBE Group and to defend, or pay

  for the defense of, Lexington Law in connection with the matters going forward, subject only to

  the policy's applicable limit of liability.


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                                       THIRD CAUSE OF ACTION

      (Breach of Contract Against Catlin and Indian Harbor — Duty to Defend and Pay All
               Defense Expenses Incurred in Connection With the CFPB Claim)

            112. ' The Insureds repeat and reallege the allegations set forth in preceding paragraphs

  of this Complaint as if set forth fully herein.

            113.      The 2014 Lexington Policy and the 2017 CreditRepair.com Policy are valid and

  enforceable contracts between the respective parties.

            114.      Lexington Law and CreditRepair.com performed all of their obligations under the

  2014 Lexington Policy and the 2017 CreditRepair.com Policy, including without limitation

  payment of all of the premiums due under those policies.

            115.      Lexington Law and CreditRepair.com timely tendered the CFPB Claim for

  coverage under AXA XL's policies.

           116.       The CFPB Claim constitutes a Claim under the 2014 Lexington Law Policy and

  the 2017 CreditRepair.com Policy.

           117.       The CFPB Claim triggers AXA XL's obligation to defend Lexington Law and

  CreditRepair.com, or to otherwise pay for the Insureds' attorneys' fees and costs incurred in

  connection with the CFPB Claim, under the 2014 Lexington Policy and the 2017

  CreditRepair.com Policy.

           118.       Prior the CFBP Lawsuit, AXA XL wrongfully denied coverage.

           119.       AXA XL wrongly denied coverage for the CFPB Lawsuit by failing to defend the

  Insureds and/or refusing to pay any of Lexington Law and CreditRepair.com's legal defense

  costs in breach of the policies.




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           120.      Any conditions to coverage under the policies have been satisfied or have been

  waived or are otherwise unenforceable.

           121.      Lexington Law and CreditRepair.com incurred attorneys fees in bringing and

  prosecuting this action, which are foreseeable damages to AXA XL's breach of contract.

           122.      As a direct and proximate result of the breaches by AXA XL of its duty to defend

  Lexington Law and CreditRepair.com in connection with the CFPB Claim, the Insureds have

  been damaged in an amount to be proven at trial.

                                     FOURTH CAUSE OF ACTION

    (Breach of Contract Against Indian Harbor — Duty to Defend and Pay Defense Expenses
             Incurred by Lexington Law in Connection with the Creditor Claims)

           123.      The Insureds repeat and reallege the allegations set forth in preceding paragraphs

  of this Complaint as if set forth fully herein.

           124.      The 2017 Lexington Policy is a valid and enforceable contract between Lexington

  Law and Indian Harbor.

           125.      Lexington Law performed all of its obligations under the 2017 Lexington Policy,

  including without limitation payment of all of the premiums due under that policy.

           126.      Lexington Law timely tendered Ad Astra and CBE Group for coverage under the

  2017 Lexington Policy.

           127.      The allegations in Ad Astra and CBE Group trigger Indian Harbor's obligation to

  defend Lexington Law or to otherwise pay its attorneys' fees and costs incurred in connection

  with the lawsuit under the 2017 Lexington Law Policy.

           128.      Indian Harbor has denied or otherwise refused to acknowledge its duty to defend

  Lexington Law in breach of the 2017 Lexington Law Policy.



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           129.       Any conditions to coverage under the policy have been satisfied or have been

  waived or are otherwise unenforceable.

           130.       Lexington Law and CreditRepair.com incurred attorneys' fees in bringing and

   prosecuting this action, which are foreseeable damages to AXA XL's breach of contract.

           131.       As a direct and proximate result of the breach of its duty to defend Lexington Law

  in connection with Ad Astra and CBE Group, the Lexington Law has been damaged in an

  amount to be proven at trial.

                                        FIFTH CAUSE OF ACTION

  (Against Catlin and Indian Harbor — Common Law Bad Faith and Breach of the Covenant
                              of Good Faith and Fair Dealing)

           132.       The Insureds repeat and reallege the allegations set forth in preceding paragraphs

  of this Complaint as if set forth fully herein.

           133.       As alleged above, Catlin and Indian Harbor each agreed under the terms and

  conditions of their respective Policies to defend or otherwise pay the Insureds' defense costs in

  connection with claims that are potentially covered under the policies.

           134.       Implied in every insurance policy is a covenant that the insurance company will

  act in good faith and deal fairly with its insured, that the insurance company will do nothing to

  interfere with the right to receive benefits under the policy that the insurance company will

  diligently investigate the facts to determine whether or not a claim is valid and will fairly

  evaluate the claim and will act promptly and reasonably in paying or rejecting a claim.

           135.       AXA XL has violated its duty of good faith and fair dealing owed to Lexington

  Law and to CreditRepair.com by, among other conduct, (a) refusing to promptly acknowledge

  the duty to defend the CFPB Claim provided under their respective Policies without reasonable



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  justification, (ii) repudiating or otherwise refusing their respective duty to defend Lexington Law

  and CreditRepair.com in connection with the CFPB Claim for reasons that are manifestly

  unreasonable under the terms and conditions of their Policies, (iii) failing to timely and

  adequately respond to the Insureds' requests for consent to retain counsel and to incur defense

  costs in connection with the CFPB Claim, and later asserting that the costs were incurred at the

  Insureds' personal costs; (iv) failing to timely and adequately respond to the Lexington Law's

  requests for consent to retain counsel and to incur defense costs in connection with the Creditor

  Claims, and later asserting that the costs were incurred at Lexington Law's personal cost; and (v)

  refusing to consent to Insureds' retained counsel on the basis that a conflict of interests precludes

  the Insureds from being represented by their chosen counsel in the absence of any reasonable

  basis for such contention. AXA XL has done so for the purpose of consciously, purposefully,

  and maliciously withholding policy benefits and placing its own interests above those of the

  Insureds for the purpose of saving money which should have been paid for Lexington Law's and

  CreditRepair.com's defense under the terms and conditions of the Policies.

           136.       The actions and inactions of AXA XL, as set forth above, are without any

  reasonable justification, were undertaken in bad faith, and constitute a breach of its duty of good

  faith and fair dealing. As a result of this breach of their duty of good faith, Lexington Law and

  CreditRepair.com are entitled to an award of compensatory damages against AXA XL, as well as

  punitive damages and attorneys' fees.

                                                CIVIL TIER

           Pursuant to Rule 26(c)(3) of the Utah Rules of Civil Procedure, Lexington Law and

  CreditRepair.com's damages are such as to qualify as a Tier 3 case for purposes of discovery.

                                          PRAYER FOR RELIEF


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            WHEREFORE, Lexington Law and CreditRepair.com pray for relief as follows:

                      (a)   On the First Cause of Action and Second Cause of Actions, the Insureds

  request that the Court determine and resolve this controversy by entering a Declaratory Judgment

  on the identified controversies as set forth therein and award plaintiffs all damages that flow

  from such a ruling;

                      (b)   On the Third Cause of Action, Lexington Law and Credit Repair.com

  request that the Court enter judgment against Catlin and Indian Harbor for actual money

  damages in an amount to be determined at trial, for breaches of their respective duties to defend

  under the Policies, including pre-judgment and post-judgment interest as allowed by common

  and statutory law, attorneys' fees and costs incurred in bringing this action, and such other and

  further relief as the Court deems just and proper;

                      (c)   On the Fourth Cause of Action, Lexington Law requests that the Court

  enter judgment against Indian Harbor and for actual money damages in an amount to be

  determined at trial, for its breach of duty to defend under the 2017 Lexington Policy, including

  pre-judgment and post-judgment interest as allowed by common and statutory law, attorneys'

  fees and costs incurred in bringing this action, and such other and further relief as the Court

  deems just and proper;

                      (d)   On the Fifth Cause of Action Lexington Law and Credit Repair.com

  request that the Court enter judgment against AXA XL for actual money damages in an to be

  determined at trial for Catlin's and Indian Harbor's breaches of the duty of good faith and fair

  dealing, including compensatory damages, punitive damages, pre-judgment and post-judgment




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  interest as allowed by common, attorneys' fees and costs incurred by the Insureds in bringing

  this action, and such other and further relief as the Court deems just and proper.




                                           JURY DEMAND

           Pursuant to Utah Rule of Civil Procedure 38(b), Insureds demand a trial by jury on all

  issues so triable.

                                                        COHNE KINGHORN, P.C.

                                                By:     /s/ George Hofmann
                                                        George Hofmann
                                                        Joshua K. Peterman
                                                        111 East Broadway, 11th floor
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